21 F.3d 1116
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Monico ESTRADA-HERRERA, Defendant-Appellant.
    No. 93-30250.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 11, 1994.*Decided April 5, 1994.
    
      1
      Before:  BROWNING, KOZINSKI and NOONAN, Circuit Judges
    
    
      2
      ORDER*
    
    
      3
      The judgment of the district court is AFFIRMED.  United States v. Wehr, --- F.3d ---- (9th Cir.1994).
    
    
      
        *
         The panel unanimously finds this case suitable for submission without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    